
80 So. 3d 412 (2012)
Caleb Scott KAECK, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-5146.
District Court of Appeal of Florida, First District.
February 14, 2012.
Caleb Scott Kaeck, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and Caleb Scott Kaeck is hereby afforded belated appeal of the order of the Circuit Court for Baker County which denied his motion to correct illegal sentence in case number 2006-CF-000211-A. Upon issuance of mandate in this cause, a copy of the opinion will be provided to the clerk of the lower tribunal *413 who shall treat it as a notice of appeal. See Fla. R.App. P. 9.141(c)(6)(D).
LEWIS, ROBERTS, and RAY, JJ., concur.
